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                                               Certificate Number: 12459-GAN-CC-031120107


                                                              12459-GAN-CC-031120107




                    CERTIFICATE OF COUNSELING

I CERTIFY that on June 1, 2018, at 4:04 o'clock PM PDT, Tarus Young received
from Abacus Credit Counseling, an agency approved pursuant to 11 U.S.C. § 111
to provide credit counseling in the Northern District of Georgia, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   June 1, 2018                           By:      /s/Merridy Knapp


                                               Name: Merridy Knapp


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
